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                                                                         United States District Court
                                                                           Southern District of Texas

                                                                              ENTERED
                                                                              July 15, 2021
                                                                           Nathan Ochsner, Clerk
                     UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF TEXAS
                          HOUSTON DIVISION

        DONALD BRATTON                 §   CIVIL ACTION NO.
        and DONALD                     §   4:21-cv-02165
        MALLARD,                       §
                 Plaintiffs,           §
                                       §
                                       §   JUDGE CHARLES ESKRIDGE
               vs.                     §
                                       §
                                       §
        UNION PACIFIC                  §
        RAILROAD COMPANY,              §
        et al,                         §
                 Defendants.           §

              SCHEDULING AND DOCKET CONTROL ORDER
The following schedule will control disposition of this case:

 1.    09/28/2021       MOTIONS TO ADD NEW PARTIES
                        The party causing the addition of a new party must
                        provide copies of this Order and all previously entered
                        Orders to the new party.
 2.    10/28/2021       MOTIONS FOR LEAVE TO AMEND PLEADINGS
                        Any party seeking leave to amend pleadings after this
                        date must show good cause.
 3a.   04/26/2022       EXPERTS (other than attorney’s fees)
                        The party with the burden of proof on an issue must
                        designate expert witnesses in writing and provide the
                        required report under Rule 26(a)(2).
 3b.   05/26/2022       The opposing party must designate expert witnesses in
                        writing and provide the required report under
                        Rule 26(a)(2).



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 4.   07/12/2022    COMPLETION OF DISCOVERY
                    Discovery requests are not timely if the deadline for
                    response under the Federal Rules of Civil Procedure
                    falls after this date. Parties may by agreement continue
                    discovery beyond the deadline.
 5.   08/11/2022    DISPOSITIVE AND NONDISPOSITIVE MOTIONS
                    DEADLINE (except for motions in limine)
                    No party may file any motion after this date except for
                    good cause shown.
 6.   09/27/2022    MEDIATION OR SETTLEMENT CONFERENCE
                    BEFORE THE MAGISTRATE JUDGE
                    The parties must complete mediation or other form of
                    dispute resolution.
 7.   10/27/2022    DEADLINE FOR JOINT PRETRIAL ORDER AND
                    MOTIONS IN LIMINE
                    The Joint Pretrial Order must contain the pretrial
                    disclosures required by Rule 26(a)(3). Plaintiff is
                    responsible for timely filing of the complete Joint
                    Pretrial Order. Failure to do so may lead to dismissal
                    or other sanction in accordance with applicable rules.
 8.   12/19/2022    DOCKET CALL
                    Docket call will occur at 9:30 a.m. in Courtroom 8B,
                    United States Courthouse, 515 Rusk, Houston, Texas.
                    The Court will not consider documents filed within
                    seven days of docket call. The Court may rule on
                    pending motions at docket call and will set the case for
                    trial as close to docket call as practicable.




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 9.     Additional orders or limitations relating to disclosures,
        discovery, or pretrial motions:




 10.   Other matters:




       Any party wishing to make a discovery or scheduling motion must obtain
  permission before the submission of motion papers. This includes any motion
  to compel, to quash, for protection, or for extension. Follow Section 15 of
  the Court’s procedures.
       The parties agree to submit attorney’s fees issues to the Court by affidavit
  after resolution of liability and damages.
       In cases referred to the Magistrate Judge for the initial conference, the
  Magistrate Judge has the authority to adjust the scheduling order dates.


                                     Signed on July 15, 2021, at Houston, Texas.



                                   Hon. Charles Eskridge
                                   United States District Judge




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